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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 CITY OF EL CENIZO, et al.,                    §
       Plaintiffs,                             §
                                               §               CIVIL ACTION NO.
 v.                                            §                 5:17-CV-404-OG
                                               §             [Consolidated/Lead Case]
 STATE OF TEXAS, et al.,                       §
      Defendants.                              §

                                            ORDER

       Now before the Court comes Defendants’ Motion to Dismiss City of Austin’s First Amended

Complaint, filed January 13, 2020. After considering the Motion, the Response, and any Replies

thereto, the Court is of the opinion that it should be GRANTED.

       IT IS THEREFORE ORDERED that Defendants’ Motion to Dismiss City of Austin’s First

Amended Complaint is GRANTED and Plaintiff City of Austin’s claims are DISMISSED.



DATE: _________________

                                           ____________________________________
                                           ORLANDO L. GARCIA
                                           CHIEF U.S. DISTRICT JUDGE
